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                  EXHIBIT 5
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                                                                                JONES DAY                                                                                                     12959488



                                                         51 LOUISIANA AVENUE, N.W . • WASHINGTON, D.C. 20001-2113
                                                                                                                                                                                       Nov 19 2006
                                                            TELEPHONE: (202) 879-3939 • FACSIMILE: (202) 626-1700
                                                                                                                                                                                         5:19PM

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                                                                                                                                                         christophercook@jonesday.com




                                                                              November 19, 2006




           VIA EMAIL


           Gejaa Gobena                                                                         M. Justin Draycott
           Patrick Henry Building                                                               Patrick Henry Building
           601 D Street, N.W.                                                                   601 D Street, N.W.
           Room 9028                                                                            Washington, D.C. 20004
           Washington, D.C. 20004


            Re:             United States ex rel. Ven-A-Care of the Florida Keys v. Abbott Laboratories, Inc.,
                            MDL No. 1456/Civil Action No. 01-12257-PBS

           Dear Counsel:

                   As you know, in responding to subpoenas issued by the Defendants in the AWP MDL
           and the Lupron MDL to the Department of Health and Human Services (“HHS”) and various
           Medicare Carriers, the United States withheld a number of responsive documents from its
           production under the “deliberative process” privilege. You have previously provided to us
           privilege logs purporting to describe documents initially withheld from the HHS and Medicare
           Carrier productions. I have attached copies. While the United States subsequently agreed to
           produce some of the documents contained on these privilege logs, it is Abbott’s understanding
           that the United States has continued to withhold most of the documents under a claim of the
           deliberative process privilege.

                   At the parties’ last meet-and-confer, Abbott asked if the United States would reconsider
           its decision to assert the deliberative process privilege for all documents that the United States
           continues to withhold under the deliberative process privilege. We specifically asked you
           whether the government’s decision to intervene in Ven-A-Care’s qui tam action against Abbott
           would cause the government to take a different position regarding its assertion of the deliberative
           process privilege. You asked that we prepare a formal letter outlining our request, and indicated
           you would forward that request to the appropriate agency officials.

                  For the reasons outlined below, Abbott hereby requests that the United States produce
           those documents it has previously withheld from the HHS and Medicare Carrier productions
           under a claim of the deliberative process privilege.


AT L A N TA     x      B EI J I N G   x    BRUSSELS   x     C H I C AG O x   CLEVELAND        x CO L U MB U S x DALLAS     x   F R A N K F U RT x          HO N G K O NG       x   HO U S TO N
I RV I N E x         LONDON         x     LOS ANGELES     x      MADRID    x   M E N L O PA R K x    MI L A N x  MO S C OW   x    MU N I C H         x     N EW D E L H I     x N EW YO R K
PA R I S    x       PITTSBURGH          x   SAN DIEGO   x     SAN FRANCISCO       x     SHANGHAI   x    SINGAPORE   x    SYDNEY     x     TA I P E I     x    TO K Y O    x    W AS H I N G TO N
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        The deliberative process privilege is a qualified, not an absolute, privilege. Of particular
importance here, courts have held that the deliberative process privilege does not apply if the
deliberations or decision-making of the government agency are at issue in the litigation. See
United States v. Lake County Board of Commissioners, 233 F.R.D. 523, 526 (N.D. Ind. 2005)
(the deliberative process privilege “is vitiated entirely at step one when the government’s
decision-making process is central to the plaintiff’s case”); Mitchell v. Fishbein, 227 F.R.D. 239,
250 (S.D.N.Y. 2005) (“the deliberative process privilege is not applicable ‘where the decision-
making process itself is the subject of litigation’”) (citations omitted); Scott v. Board of Educ. Of
the City of East Orange, 219 F.R.D. 333 (D.N.J. 2004) (“when the deliberations of a government
agency are at issue, the [deliberative process] Privilege is not available to bar disclosure of such
deliberations”); Williams v. City of Boston, 213 F.R.D. 99, 102 (D. Mass. 2003) (“where, as here,
the ‘decision-making process itself is the subject of the litigation,’ it is inappropriate to allow the
deliberative process privilege to preclude discovery of relevant information”) (citations
omitted).1

         At the very least, the United States’ involvement in this case demands that the
government’s claim of the deliberative process privilege fall. See In re Sealed Case, 121 F.3d
729, 738 (D.C. Cir. 1997) (noting that “role of the government” is a factor in the court’s
balancing test); Scott, 219 F.R.D. at 337 (same). The United States has chosen to make itself the
Plaintiff in a case that puts at issue government decision-making in the area of drug
reimbursement by the Medicare and Medicaid programs. This decision by the United States
constitutes a waiver of the deliberative process privilege as to any government decisions relevant
to this litigation. Moreover, due process does not permit the United States to seek to deprive
Abbott of its property while simultaneously asserting a privilege that prevents Abbott from
obtaining evidence ncessary to the company’s defense.

       The deliberations of HHS, CMS, and the Medicare Carriers on the subject of drug
reimbursement are directly relevant to claims made by the United States in its litigation against
Abbott. Relevant deliberations specifically include those entities’ understanding of published
AWPs and the use of those published AWPs in Medicare and Medicaid drug reimbursement.

         1
            See also Tri-State Hospital Supply Corp. v. United States, 2005 U.S. Dist. LEXIS 33156, *24-25 (D.D.C.
Dec. 16, 2005) (“where the government’s intent is squarely at issue, there is no need for the court to engage in the
tests applied in deliberative process privilege cases because ‘the privilege does not come into the picture’”)
(citations omitted); New York v. Oneida Indian Nation of New York, 2001 U.S. Dist. LEXIS 21616, *20 (N.D.N.Y.
2001) (“If the party’s cause of action is directed at the government’s intent . . . and closely tied to the underlying
litigation, then the privilege cannot be permitted and must ‘evaporate.’”) (citations omitted); McPeek v. Ashcroft,
202 F.R.D. 332, 334 (D.D.C 2001) (“It is certainly true that this privilege yields when the lawsuit is directed at the
government’s subjective motivation in taking a particular action.”); Department of Economic Development v. Arthur
Andersen & Co. (U.S.A), 139 F.R.D. 295, 299 (S.D.N.Y. 1991) (“where the deliberations of government are
genuinely at issue, privileges designed to shield the deliberative process from public scrutiny will not bar
disclosure”).
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Indeed, the United States contended in its response to Abbott’s motion to dismiss that Abbott
“with[eld] information and/or purposely provid[ed] misleading information that was critical to
government decisions regarding amounts to pay on claims for Abbott’s products.” U.S. Opp. to
Abbott Lab. Mot. to Dismiss, at 1 (filed 9/15/06) (emphasis added). Abbott is entitled to
discover whether, how, and to what extent AWPs published for prescription drugs were “critical”
to the decision-making process of government officials in the area of drug reimbursement. In
particular, Abbott is entitled to seek discovery into why the Medicare and Medicaid programs
continued to use published AWPs despite the fact that government officials and agents knew
published AWPs did not represent average prices paid by providers and pharmacies to acquire
drugs, particularly for generic drugs.

         The privilege log descriptions for documents the United States continues to withhold,
bare as they are, strongly suggest that all or nearly all of the withheld documents bear directly on
the government’s decision-making in the area of drug reimbursement and, thus, are relevant to
this litigation. Indeed, some of these documents appear to relate specifically to vancomycin, one
of the generic drugs as to which the United States has now sued Abbott. The following examples
from the United States’ privilege log for the HHS production are illustrative (emphasis added):

       x       a “Memo,” no date provided, from “Director, Center for Health Plans and
               Providers” to “The Administrator” described as “Medicare Average Wholesale
               Price (AWP) for Drug Pricing – Decision (Draft with Handwritten Notes)”
               (HHC901-0973 – 75);

       x       a “Note,” no date, author or recipient provided, described as “Options for AWP”
               (HHC901-1014);

       x       a 12/12/95 “Memo with Attachment,” from “Bernadette” to “Charles; Pat; Bob;
               Dorothy” described as “Re: Meeting on Drug Payment Policy Options” (HC902-
               0094 – 97);

       x       a 12/11/95 “Draft” from Robert Niemann described as “Re: Options for Drug
               Payment Under Medicare Part B (with handwritten notes)” (HHC902-0100 –
               02);

       x       a 8/12/92 “Memo and Attachment” from Albert Benz described as “Re
               Calculation of the Average Wholesale Price (AWP) for Drugs” (HHC902-0132
               – 35);
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       x       a “Draft,” no date, author or recipient provided, described as “Re Proposed
               Methodology for Determining Average Wholesale Price (AWP)” (HHC902-0370
               – 75);

       x       a “Draft Regulation,” no date provided, from “Regulatory Staff” described as “Re
               Implementation of the Balanced Budget Act of 1997” (HHC902-0376 – 81);

       x       a 5/23/95 “Note” from Kay Jewell to Chester Robinson, Walter Rutemueller, and
               Larry Bonannder described as “May 18 Meeting with OPTIVITA representatives
               and their recommendations regarding Vancomycin and coverage of external
               infusion pumps” (HHC903-0524-25);

       x       a 5/24/95 “Memo” from Kay Jewell to Larry Bonannder, Walter Rutemueller,
               Chester Robinson and Tom Hoyer described as “Vancomycin” (HHC903-0543 –
               47);

       x       a 4/5/93 “Note with attached report” from Dorothy Burn Collins to Kathy Buto,
               Tom Ault, Chuck Booth and Bob Wren described as “Review of Home Infusion
               Therapy” (HHC903-0641 – 49);

       x       a “Note and attached briefing materials,” no date provided, from B. Wren to Joyce
               Zutell described as “Briefing Materials for Hearing on Home Infusion Therapy,
               House Energy and Commerce Subcommittee on Oversight and Investigations,
               September 9, 1993” (HC903-0711 – 20);

       x       a “Memo,” no date provided, from Douglas J. Porter to “All Prescribers”
               described as “Increases in Maximum Allowable Drug Dispensing Fees”
               (HHC907-1087); and

       x       something typed “In The Matter Of The Adoption Of A Rule Which Govern
               Payment for Pharmaceutical” further described as “Adoption Of A Rule Which
               Govern Payment For Pharmaceutical Services” (HHC908-0684).

        The United States has not provided the requisite showing to invoke the deliberative
process privilege for the documents that have been withheld on those grounds. “Governmental
privilege must ordinarily be invoked by a department head or other responsible agency official,
after a personal review of the documents, in an affidavit stating a factual basis for the claim of
injury to legitimate government interests flowing from disclosure.” Grossman v. Schawrz, 125
F.R.D. 376, 381 (S.D.N.Y. 1989) (citing Unites States v. Reynolds, 345 U.S. 1 (1953); United
States v. O’Neil, 619 F.2d 222, 225-26 (3d Cir. 1980); King v. Conde, 121 F.R.D. 180, 189
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(E.D.N.Y. 1988); Kelly v. San Jose, 114 F.R.D. 653, 669-70) (N.D. Cal. 1987)). “Assertion of
privilege by the attorney for the [government agency] or by the author of the document is
insufficient.” Grossman, 125 F.R.D. at 381. The “factual basis must be stated ‘with
particularity, so that the court can make an intelligent and informed choice as to each requested
piece of information.’” Id. (quoting King, 121 F.R.D. at 189). “Specifically, the affidavit must
include a showing of ‘what interests would be harmed, how disclosure under a protective order
would cause the harm, and how much harm there would be.’” Id. (quoting Kelly, 114 F.R.D. at
669). See also Abramson v. United States, 39 Fed. Cl. 290, 294 (1997) (“the agency must
provide precise and certain reasons for maintaining the confidentiality of the documents”).

         As far is Abbott is aware, the United States has failed to make the requisite showing for
any of the documents it has withheld under the deliberative process privilege. If the United
States remains unwilling to produce these documents to Abbott under the deliberative process
privilege, Abbott requests that the United States, through the appropriate official, provide the
requisite showing described above for each of the documents it will not produce to Abbott.
Kelly, 114 F.R.D. at 668 (“To properly support each such objection the party must submit, at the
time it files and serves its response to the discovery request, a declaration or affidavit, under oath
and penalty of perjury, from a responsible official within the agency who has personal
knowledge of the principal matters to be attested to in the affidavit or declaration.”). Without the
required showing, Abbott is not given a “fair opportunity to challenge the bases for the assertion
of the privilege.” Id. at 669 (“Providing that opportunity is important to the court as well
because in our adversary system the court looks to opposing parties to help it probe and measure
the strength of submissions such as these.”).

        Moreover, the United States’ privilege logs fail to identify the dates for many of the
documents withheld under the deliberative process privilege, and the level of detail provided in
the logs about the documents is minimal. There is no reference in any of the entries to the
relevant final decision to which the document relates. This makes it impossible for Abbott (or
anyone else) to assess whether the documents meet the threshold requirements of the deliberative
process privilege, including whether the documents are pre-decisional and deliberative. See
Texaco Puerto Rico, Inc. v. Department of Consumer Affairs, 60 F.3d 867, 884 (1st Cir. 1995)
(entries—consisting “almost entirely of each document’s issue date, its author and intended
recipient, and the briefest of references to its subject matter—will not do”). If the United States
remains unwilling to produce documents it has withheld under the deliberative process privilege,
it should remedy those defects as well.
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       So that Abbott can file expeditiously any necessary motion to compel, please advise me
by Friday, December 1, 2006 whether the United States will produce the documents described on
your privilege log.



                                              Very truly yours,



                                              R. Christopher Cook


Attachments

cc:    Renee Brooker
       Mark A. Lavine
       Ana Maria Martinez
       Ann St. Peter-Griffith
